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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

    IN RE: BROILER CHICKEN GROWER
    LITIGATION                                                    No. 6:17-CV-00033-RJS

                                                             The Honorable Robert J. Shelby

                                                           DEFENDANTS’ CORRECTED
    This Document Relates To All Cases                  SUPPLEMENTAL BRIEF IN SUPPORT
                                                          OF THEIR MOTION TO DISMISS


                                        INTRODUCTION
         Pursuant to the Court’s Minute Order at Dkt No. 233, Defendants hereby file a Corrected
Supplemental Brief. The Corrected Supplemental Brief omits the top banner and is otherwise the
same as the supplemental brief previously filed.
         During the April 20, 2018 hearing on Defendants’ motion to dismiss, the Court inquired as
to why the issue of market definition was not more robustly addressed in Defendants’ opening
brief. (4/20/18 Hr’g Tr., 38:5–15.) The reason, as discussed at the hearing, is that Plaintiffs pled
a per se case; the Complaint did not mention the “rule of reason” even once. Plaintiffs now
concede that standard does not apply to their information-sharing claim. (See Dkt. 200 at 9 (“the
exchange of information is not illegal per se, but can be found unlawful under a rule of reason
analysis”).) For this reason alone, Plaintiffs’ Complaint should be dismissed; the Complaint does
not allege the essential elements of their claim.
         Yet even if the Court were to analyze the information-sharing claim under the rule of
reason, the same result follows. Defendants 1 do not rehash each basis for dismissal here. Rather,
following up on the Court’s questions, Defendants seek to further elaborate on Plaintiffs’ failure
to plead essential elements of a rule of reason claim: (i) a plausible relevant market and (ii) an
anticompetitive effect on that market.       (4/20/18 Hr’g Tr., 38:15–16 (the Court discussing
possibility of “additional briefing” on relevant market).)



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     In light of the injunction entered by the United States Bankruptcy Court for the Northern
     District of Texas, Fort Worth Division (see Dkt. 221), Defendant Pilgrim’s Pride Corporation
     does not join in filing this Supplemental Brief. However, Pilgrim’s agrees with the arguments
     presented herein.


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                                          ARGUMENT
I. PLAINTIFFS’ CLAIM SHOULD BE DISMISSED FOR FAILURE TO PLEAD A
   PLAUSIBLE GEOGRAPHIC MARKET.
       The rule of reason is “an inquiry into market power and market structure designed to assess
the combination’s actual effect.” Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752,
769 (1984) (citations omitted). Accordingly, the Tenth Circuit has held that the rule of reason
obliges courts “to analyze the relevant market power of the defendants and therefore requires the
plaintiff to allege a valid market.” Campfield v. State Farm Mut. Auto. Ins. Co., 532 F.3d 1111,
1119 (10th Cir. 2008) (citing Diaz v. Farley, 215 F.3d 1175, 1182 (10th Cir. 2000)).
       The purpose of this requirement at the pleading stage is to determine whether allegations
of competitive harm are plausible; indeed, “[w]ithout a well-defined relevant market, a court
cannot determine the effect that an allegedly illegal act has on competition.”           Little Rock
Cardiology Clinic PA v. Baptist Health, 591 F.3d 591, 596 (8th Cir. 2009) (citation omitted); see
Tarabishi v. McAlester Reg’l Hosp., 951 F.2d 1558, 1569 n.15 (10th Cir. 1991) (“[P]roof of
markets is required so that adverse impact on competition can be evaluated.”); ABA Section of
Antitrust Law, Antitrust Law Developments 70 (8th ed. 2017) (“Without defining the relevant
market, there may be no meaningful context within which to assess the restraint’s potential
competitive effects.” (citing numerous cases in support)). 2 Thus, market definition acts as a screen
to ensure that defendants do not need to spend millions in discovery where the court has no tools
to plausibly determine whether the complained of conduct actually harms consumer welfare. See
also Concord Assocs., L.P. v. Entm’t Properties Tr., 817 F.3d 46, 52 (2d Cir. 2016) (“To survive
a motion to dismiss, a Sherman Act claim must . . . define the relevant geographic market” and
plead “sufficient facts to allege plausibly the existence of both a product and geographic market.”
(emphasis added)); Full Draw Prods. v. Easton Sports, Inc., 182 F.3d 745, 756 (10th Cir. 1999)
(“to state a claim” under the Sherman Act, “the plaintiff must plead . . . [a] relevant market
(including geographic market and relevant product market”).
       To define a valid market, a plaintiff must identify both a relevant product market and a
relevant geographic market, which is “the narrowest market which is wide enough so that products


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    See also SCFC ILC, Inc. v. Visa USA, Inc., 36 F.3d 958, 966 (10th Cir. 1994) (“By defining
    the relevant market . . . we identify the firms that compete with each other. Plugged into the
    market power inquiry, we may then determine whether the alleged anticompetitive activity
    restrained trade . . . .”).


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from adjacent areas cannot compete on substantial parity with those included in the market.”
Buccaneer Energy (USA) Inc. v. Gunnison Energy Corp., 846 F.3d 1297, 1312, 1314 (10th Cir.
2017) (emphasis added and citations omitted). Here, Plaintiffs have not met their burden under
the rule of reason by alleging facts that, if proven true, would plausibly support a national
geographic market.
       Specifically, a nationwide market is contradicted both by Plaintiffs’ actual allegations and
common sense. (See Dkt. 208 at 8.) A Grower cannot possibly (much less plausibly) view an
Integrator whose complex is across the country as a “reasonably good substitute[]” for those within
driving distance. Campfield, 532 F.3d at 1118. (E.g., Compl. ¶ 89 (alleging that in 2012 “over
three-quarters of Growers ha[d] more than one Integrator in their geographic area,” such that those
Growers “could, in theory, switch Integrators”); ¶ 141 (alleging that “the ‘no poach’ agreement
directly suppresses competition for Broiler Grow-Out Services in areas with more than one
Integrator” (emphases added)).)        Plaintiffs’ nationwide market definition is thus “fatally
overbroad,” as it “advances no credible allegation” that Growers sell, or Defendants compete for,
grow-out services on a national level. Drake v. Cox Commc’ns, Inc., 2011 WL 2680688, at *3 (D.
Kan. July 8, 2011); see, e.g., Wheeler v. Pilgrim’s Pride Corp., 246 F.R.D. 532, 536 (E.D. Tex.
2007) (“Due to the costs and other logistical concerns the growers are typically located within
forty to fifty miles of the processing plant in the [Integrator’s] complex.”). 3
       Accordingly, Plaintiffs’ rule of reason claim must be dismissed for failure to plead a
relevant market. 4 See, e.g., Campfield, 532 F.3d at 1119 (“By failing to allege an appropriate


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    Plaintiffs speculate that because certain Growers or Integrators could theoretically “move”
    across the country, these localized markets may somehow be inflated into one national market.
    (See Compl. ¶ 135; 4/20/18 Hr’g Tr., 75:16–77:5.) But Plaintiffs’ conjecture is belied by their
    own allegations of “high entry barriers for Integrators” and “high exit barriers for Growers.”
    (Compl. ¶¶ 59–62, 92–97; 4/20/18 Hr’g Tr., 77:21–22 (Plaintiffs acknowledging “[w]e have
    alleged high barriers to mobility, high barriers to movement . . .”).)
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    In some cases, of course, dismissal at the pleading stage may be premature where a “proper
    market definition can be determined only after a factual inquiry into the commercial realities
    faced by consumers.” Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436 (3d
    Cir. 1997). That is not this case. Whatever the correct definition of “market(s)” for Grower
    services might be, Plaintiffs’ proposal plainly is not even in the ballpark. This is dispositive
    of their claim. Plaintiffs, not Defendants, “have the burden of defining the relevant market.”
    Id. Moreover, antitrust plaintiffs can allege hundreds of local markets in complaints, and there
    is no reason why Plaintiffs could not do so here if their claims had adequate factual support.
    See, e.g., Compl. ¶ 30, United States v. Aetna Inc., No. 1:16-cv-01494, ECF No. 1 (D.D.C.


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market, [plaintiff] has failed to state a claim under § 2 of the Sherman Act.”); TV Commc’ns
Network, Inc. v. Turner Network Television, Inc., 964 F.2d 1022, 1025 (10th Cir. 1992) (affirming
dismissal of Sherman Act claim because proposed market was defined too narrowly).
       Rule 12 does not permit Plaintiffs to assert an implausible market definition in the hopes
of dramatically altering it down the line. (See 4/20/18 Hr’g Tr., 80:1–81:7.) Rather, where, as
here, a plausible market is not adequately pled under the rule of reason, the claim must be
dismissed. See, e.g., Campfield, 532 F.3d at 1119; TV Communications, 964 F.2d at 1025; Klein-
Becker USA LLC v. Englert, 2007 WL 2821644, at *1 (D. Utah Sept. 26, 2007) (ordering dismissal
where counterclaimants did not “adequately state an alleged product market as required to state
either a Sherman Act § 1 or § 2 claim because they d[id] not offer any plausible explanation as to
why a market should be limited in a particular way” (internal quotation marks omitted)).
       Nor can the relevant market(s) in this case properly become broader simply because
Defendants purchase Grower services in various areas across the country. See, e.g., Lantec, Inc.
v. Novell, Inc., 306 F.3d 1003, 1027 (10th Cir. 2002) (explaining that defendants’ sales of products
“in several different international markets cannot establish a worldwide [relevant] market” because
plaintiffs failed to establish that this was “the area where . . . customers would look to buy” the
underlying products); Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 230 (2d Cir. 2006)
(“Local markets for tickets sales are not transformed into a national market simply because concert
tours are coordinated nationally.”), overruled on other grounds by Teamsters Local 445 Freight
Div. Pension Fund v. Bombardier Inc., 546 F.3d 196, 201 (2d Cir. 2008).
       Contrary to Plaintiffs’ suggestion at oral argument, a geographic market that is pled too
broadly, as opposed to “too narrow[ly],” is implausible all the same. (4/20/18 Hr’g Tr., 115:23–
24.) For instance, in Cox Communications the court dismissed the plaintiff’s Sherman Act claims
against a cable television provider and an advertisement company because the proposed “national
market” for public service announcements was obviously overbroad. 2011 WL 2680688, at *3.
A market of nationwide scope was implausible, the court explained, because “[b]y its very nature,
cable television is local.” Id. (emphasis added). So, too, with grow-out services.




   July 21, 2016) (alleging that each of 364 counties listed in the appendix were a relevant
   geographic market), available at https://www.justice.gov/atr/file/878196/download.



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       In sum, Plaintiffs have posited a nationwide market without any factual allegations to
support it—and, indeed, with many to flatly contradict it. That requires dismissal. See, e.g., Uretek
USA, Inc. v. Applied Polymerics, Inc., 2011 WL 6029964, at *5 (E.D. Va. Dec. 5, 2011) (granting
plaintiffs’ motion to dismiss defendant’s antitrust counterclaim because defendants’ assertion that
“the relevant product market is the pavement lifting and roadway repair and maintenance
industries, and the relevant geographic market is the United States . . . is too broad and is
unsupported by factual allegations”); Samsung Elecs. Co. v. Panasonic Corp., 2015 WL
10890655, at *4 (N.D. Cal. Sept. 30, 2015) (finding market definition for flash memory cards “too
broad to be plausible” due to “no showing of reasonable interchangeability of use and cross-
elasticity of demand” and insufficient details evincing “a single relevant market” for different types
of customers).
II. PLAINTIFFS’ BARE ASSERTIONS OF ANTICOMPETITIVE EFFECT ARE
    INSUFFICIENT UNDER TWOMBLY AND CANNOT EXCUSE THEIR FAILURE TO
    PLEAD A PLAUSIBLE RELEVANT MARKET.
       At the hearing, Plaintiffs’ counsel argued for the first time that they were relieved of the
burden of alleging a relevant market under FTC v. Indiana Federation of Dentists (“IFD”), 476
U.S. 447 (1986) because they have pled direct anticompetitive effects. (4/20/18 Hr’g Tr., 78:24–
79:25.) This argument appears nowhere in their brief opposing dismissal and should be deemed
waived. See Fed. Ins. Co. v. Tri-State Ins. Co., 157 F.3d 800, 805 (10th Cir. 1998) (“Issues raised
for the first time at oral argument are considered waived.” (citation omitted)). But even if the
Court considers the argument, it should be rejected.
       First, Plaintiffs do not adequately plead actual direct effects because they fail to allege any
facts connecting allegedly suppressed Grower compensation to information exchanges. Missing
from the Complaint are any allegations that Grower compensation changed after any particular
information exchange or meeting, by what amount Grower compensation was allegedly
suppressed, or what Grower compensation would have been but-for the information exchange.
Moreover, Plaintiffs plead that Grower compensation has been in relative decline since at least the
1980s and, based on one study, unprofitable in most years between 1999 and 2009. (See Compl.
¶¶ 151–52; see also Dkt. 193 at 18–19.) Because Plaintiffs only allege a conspiracy beginning in
2008 (Compl. ¶ 1), they have not pled direct evidence of suppressed compensation as a result of
an information exchange as opposed to any decrease as part of preexisting trends.




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       Second, conclusory and speculative allegations of suppressed compensation do not survive
under Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and cannot open the doors to discovery
forcing Defendants collectively to incur millions of dollars in discovery costs. If such conclusory
allegations could, information exchange cases would become antitrust “end runs,” for all a plaintiff
would need do to survive a motion to dismiss would be to make two simple allegations: first, that
the defendants subscribed to an information exchange service; and second, that prices were lower
than they should be in a competitive market. That cannot be the law. See Twombly, 550 U.S. at
558–59 (discussing importance of plausibility standard in light of antitrust discovery costs).
       Indeed, the logic of Twombly was to stop defendants from having to bear those costs for
claims likely to be rejected in the future (e.g., in this case, for failure to plead a relevant market,
among other defects). See Insulate SB, Inc. v. Advanced Finishing Sys., Inc., 797 F.3d 538, 543
(8th Cir. 2015) (“Given the unusually high cost of discovery in antitrust cases, the limited success
of judicial supervision in checking discovery abuse[,] and the threat [that] discovery expense will
push cost-conscious defendants to settle even anemic cases . . ., the federal courts have been
reasonably aggressive in weeding out meritless antitrust claims at the pleading stage.” (internal
citations omitted)). Thus, courts routinely grant motions to dismiss where, as here, the allegations
of actual detrimental effects are conclusory and cannot withstand Twombly. See, e.g., Sherr v.
HealthEast Care Sys., 262 F. Supp. 3d 869, 884–85 (D. Minn. 2017) (“Broad, unsupported
allegations of actual detrimental effects are inadequate to withstand a motion to dismiss.” (citation
omitted)).
       Third, the Tenth Circuit has already rejected the position that bare allegations of direct
effects relieve plaintiffs of the burden to plead and prove a relevant market. In Tarabishi, plaintiffs
similarly argued that IFD relieved them of the burden of pleading and proving relevant markets.
951 F.2d at 1569 n.15. Yet the Tenth Circuit held that “[w]hat plaintiffs fail to realize . . . is that
the ‘proof of actual detrimental effects’ requires more than the simple allegation . . . [of] reduced
competition.” Id. Although Tarabishi was primarily a monopolization case under Section 2 of
the Sherman Act decided after trial, the Tenth Circuit’s insistence on more than a bare allegation
equally applies at the motion to dismiss stage under Twombly. See Twombly, 550 U.S. at 556
(“Factual allegations must be enough to raise a right to relief above the speculative level . . . .”).
       Last, IFD, at most, suggests antitrust plaintiffs need not plead a relevant market in
exceptional cases where direct anticompetitive effects are clear on the face of the complaint under



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Twombly. IFD was a rare rule of reason case where “an observer with even a rudimentary
understanding of economics could conclude that the arrangements in question would have an
anticompetitive effect on customers and markets.” Cal. Dental Ass’n v. FTC, 526 U.S. 756, 770
(1999). It is thus unremarkable that, as the Tenth Circuit has held, “where a practice has obvious
anticompetitive effects—as does price-fixing—there is no need to prove that the defendant
possesses market power.” Law v. NCAA, 134 F.3d 1010, 1020 (10th Cir. 1998).
       But an information-sharing claim is very different from price-fixing because “[t]he
exchange of price data and other information among competitors does not invariably have
anticompetitive effects.” United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16 (1978). Thus,
Plaintiffs must plead a relevant market to state a plausible information-sharing claim because direct
competitive harm under the facts alleged is not obvious and Plaintiffs have not pled even the rough
contours of a valid market. See Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1086 (11th Cir.
2016) (explaining that “IFD was primarily a quick look case” and that (unlike here) “the evidence
in that case showed that the [alleged] restraint was actually very successful . . . [and] actually
affected the market in a concrete and palpable way” (emphasis added)); Worldwide Basketball &
Sport Tours, Inc. v. NCAA, 388 F.3d 955, 960-61 (6th Cir. 2004) (distinguishing IFD’s direct
effects language as “an able exposition of the quick-look standard” and inapplicable in full rule
of reason cases) (emphasis added); Republic Tobacco Co. v. N. Atl. Trading Co., 381 F.3d 717,
737 (7th Cir. 2004) (clarifying that IFD simply “stand[s] for the proposition that if a plaintiff can
show the rough contours of a relevant market, . . . then direct evidence of anticompetitive effects
can establish the defendant’s market power—in lieu of the usual showing of a precisely defined
relevant market and a monopoly market share” (emphasis added)).
                                         CONCLUSION
       For the foregoing reasons, and the reasons stated in Defendants’ motion, the Court should
dismiss the Complaint with prejudice.


   Dated: May 10, 2018                               Respectfully submitted,

                                                     /s/ John D. Harkrider




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                                CERTIFICATE OF SERVICE

       On May 10, 2018, I electronically transmitted a true and correct copy of the foregoing
document to the Clerk of Court for filing using the CM/ECF system, which will send notification
of such filing to all counsel of record.

                                                    /s/ John D. Harkrider




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